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                                                            P      11   L
              IN THB TOUTED STATSS D»«»*Kg* FOR THE b
                       EASTERN DISTRICT OF VIRGINIA          •
                            Alexandria Division

In re:
                                             l.oadmsi 0*BJ| CLU,u.s.nmsA,H.CTCOu'RT
                                                           COURT        OWCK
Grand Jury Subpoena to                                    ceo;.
 James Risen                                              Wife



      A faderal grand jury haa been investigating how highly
 claaaified information about a Central Intelligence Agency
 (*CIA*1 operation BBBBHHBBBHHBH^e^^^^^"^^^^^
 H>B«"lott*** to Jott"»liflt Jw*»,RU*a' BBfore ***co^
 is Rinan'e Motion to Quash agrand jury subpoena that eeek* hie
 testimony about hie reporting. For the reason diecueeed below,
 Risen'a Motion to Quash the subpoena haB been granted.
                                 I. Background

         A. Chapter 9 of gfrat.ffi P* wftT
         in January 2O0«S, Mm publiahed abook about the CIA, filSES
  rf ffffl~. «h» a^rrr ^«vry "« *'" ™ ™fl rh" ftumi ^"^ra*1:'
  fm-itt. of war") . Chapter iof gttfct tf WftT describes a covert
  CIA operative'a attempt* to provide Iran with flawed nuclear
  weapon plane under a highly classified CIA program,
         M reported in Chapter 9, the CCA recruited aformer RiwU*
  scientist, identified by the codeuame -MBRLIN,- to provide
  Iranian officials with faulty nuclear blueprinte, as part of e
   CIA plan to undermine Iran'a nuclear programs. According to
  Risen, the elawa in the blueprints were immediately spotted by
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                                         #Y

  the former scientist,   Kevertheless, the CIA instructed him Co
  continue with the operation and drop the blueprints off at the
  Iranian embassy in Vienna.   Chapter 9 concludes that the
  operation was deeply flawed and mismanaged, because the latent
  defects in Che blueprints were easily identifiable, and the
  operation actually resulted in the transfer of potentially
  helpful nuclear technology to the Iranians. Much of Chapter 9 is
  told from cho perspective of a CIA case officer, described as the
  Russian scientist's "personal handler," who was assigned to
  persuade the scientist to go along with the operation.




                                                   IDecl. of Brie B.

  Bruce, dated March 7, 3008, |*Bxuce Decl.") at 1 7, », B to
  Government'e Bx Parte Submission in Supp. of opp. to James
   Risen*0 Mot. Co Quash Grand Jury Subpoena, dated June 19, 2010.J

        fl.   Risen'0 contacts with Jeffrey Sterling
        The government's target in the leak investigation is Jeffrey
   Sterling, who was hired as a CIA case officer in 1993. Bruce

        _^^^^^^^^^^^^^^^^^^^^^^^^^^^^mtmm Bruce Decl.
   at 1^^^Spte^^Osc^epoSSE^B^n^ranian i^^gence
   officer provided the CIA with evidence that Iran was behind i
   bontoixa and that C3X officials suppressed that i»£0f*t*on:_


                                       >te"
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  MCI. at 113. Prom late 1998 or early 1599 through. April or Hay
  2000, Sterling was assigned as (^^^^ps^bsbssssbssbss*bbsbssbssss1
 ^••••••H 2^ at 11 16, 26. Sterling frequently mist
  wlth ••••••Mssffahd had principal responsibility for
  drafting classified reportB about his progress, Jd* at 137
  After being told that he failed to meet performance targets,
  Sterling, who ie African American, filed adiscrimination
  complaint with the CIA on August 22, 2000. 14,. at It 17-18.
   Sterling then filed »lawsuit against the CIA that was dismissed
   based on the State Secrets privilege. Sterling's employment with
   the CTA ended on or about January 31/ 2002. 14- " 11 19-20.
        The government has established that Sterling first began
   communicating with Risen during the final stages of his
   employment with the CIA. On November 4, 2001, Rieen published an
   article in the f *»* »H—. sealing that aCIA undercover^
   station was located in the 7 World Trade Center building.
   ^^^^^•^H|^^^M|H|HH^HHbsbbV Risen quoted
   anonymous "former agency official- as his source. I&. at 1*i-
                                        BBBBBBBBBBBBBBBBBBBBBBBSl testified tO
    48, 52.   Former CIA case officer bbbbbbbbbbbbsbsbbsbbbbsbI b
    the grand jury that Sterling told her




                                TO^SSefif^
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                           T$W&$T
                                                      Id*, at I 49.

       On Kerch 2, 2002, the p^f vc-rie Time* putoliabed an article by
  Risen about Sterling's discrimination lawauit against the CIA.
  Id,, at 1 55. The article nuoteB Sterling extensively. Risen
  wrote that Sterling *was assigned to try to recruit Iranians as



       The government alleges that after he was fired by the CIA,
  sterling attended to draw attention to fchefMsssBp«>38cC' T"®
  evidence supporting that allegation is that on Warch 5, 2003,
   Sterling met with two Senate Select Committee on Intelligence
   etaf ters, .^••H       and HLsBl to diBCUflB tbe
   program and hio discrimination lawsuit. ' a. at 1 81-82.

                   Ileter told the government in an interview that
   during the meeting -starling also threatened to go to the press,
   chough he could not recall i£ Sterling's threat related to the
   m m Operation or hiB lawsuit." IsL at 1 6».
        Risen avera in his affidavit chat he learned about Che cia
   programs in 2003. Affidavit of James Risen, dated February 16,
   2008 C2008 Risen Aft.") at 1 17. Risen states that he p'romieed
   confidentiality to the source <s) who provided the information
   about MERLIN, and that the agreement -does not merely cover the
   name of the source(e). Rather, I understand my agreement (s) to



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   require me not to reveal any information that would enable
   someone to identify my confidential source(e)."          Reply Affidavit
   of James Risen, dated July 6, 2010 (*2010 fciaen Reply Aff."), at
   1 5.
          Between February 27. 2003 and March 29, 2003, there ware
   seven phone calls from sterling's home telephone in the Eastern
   District of Virginia to Rieen^a borne telephone in the District or
   Maryland.     Bruce neel, at 1 6Sf Government'a opp. to jamee

   Risen's Wot. to Quash ©rand Jury Subpoena (*opp.") at 9.          On
   March 1©, ?003, Sterling sent an email message to Risen with a
   reference to a CHM.com article entitled*. "Reporti Iran has
    •extremely advanced' nuclear program,*         In the message, Sterling
   wrote, *i»m sure you've already seen this, but quite interesting,
   don't you think? All the more reason to wonder..."           Id*, at 1 68.
          On April 3, 2003 - four days after the last of the eeven
   phone calls from Sterling'a home to Risen'e home - Rieen called
    the CIA Office of Public Affairs, asking about an operation known
    as esBBBBBssBsfli that involved IIHHIHbsbsbssssbsbbbbbssbbsbssssbbssbsbsI
   •BBSssssBSSBBSBBfls   23*. at fl 68.   Also on April 3, 2003, Risen
    called the National Security Council's Office of Public Affairs
    for comment about the operation.        IsL. at 1 69»
          On April 30, 2003, former National Security Advisor
    Condoleszza RiceT former CIA director George Tenet, and three
    oehefr CXfl and tfsc staff members R»C with Risen and BW forK TJifflM
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                           JSMfCRfT
   Washington Bureau Chief Jill Abramson in an effort to convince
   them to     publish an article BIHHBbbsbbbbbbssssbbbssbHI
   because it would compromise national security.   Id*, at 11 72-76
   During the meeting, Risen statjedl




                                 Id. at 1 74.   On or about May 6,
   2003, Abramson Cold the government that the newspaper had decided
   not to publish the story,   Id,, at 1 77.
        Risen continued to pursue the H e P ^ as part of a
   book that be waa writing about the CIA, and the evidence before
    the grand jury shows that he kept in touch with Sterling,    rn
   approximately August 2003, sterling moved from Virginia to his
   home state of Missouri, where be stayed with £rlends, |^| and
   m|M, iflj_ at 178. phone records for theHLssH pnone
    document 13 oalls between the tfo« Vorfc Elmes office in Washington
    D.C. end their home. I&* at 1 79. ||^B*^bsHbbbHbH*""*
    testified before the grand jury that they did not receive calls
    from anyone at the new yarte Timaa.   XsL. The government also
    found records of phone calls between the ffew York Tiroes, and
    Sterling's cell pbone and work phone extension at Blue cross/alue
    Shield in Missouri, where he began working in August 2004.
    Sterling had access to the HHHj computer, and an FBI search
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   of the computer revealed 27 emails between tfterling and Risen,
   including a May 8. 200* message from Risen to Sterling, stating
   *I want to call today. I'm trying to write the story*. Idu at 11
   81-85. A forensic examination of the ^U| computer revealed a
   string of characters tfiat indicate a file called •BHH.was
   once viewed or saved on chat computer.    &L. at 1 B6.
        Moreover, during a search of Sterling's personal computer,
   federal agents found a letter to *Jim* that was created on March
   19, 2004.   figs Tab C to Qpp. Brief,   the letter describes
   Sterling's discrimination complaint and meeting with Senate
   staffers.   The letter states Chat *[t)or obvious reasons, I
   cannot tell you every detail."    Id*, at 2.


   the grand Jury that some time between October 2004 and January
   2006, Sterling told hex about hie plans to meet with "Jim,'' who
   had written an article about Sterling's discrimination case and
   was Chen working oi\ a book about the CIA. Sruce Decl. at 1 90.
   •^B testified that she understood "Jim" bo be James Risen.
   Ifl* at 1 91. According to|^m|, when the couple saw gtftt* Pt
   fear in * bookstore, Sterling - without looking at the book first
   - toid^H|H that Chapter 9 was about work be had done at the
   CIA. Z&^ at 192. Additionally> ^HsHssssB atormx
   government intelligence official with wtoom Risen consulted on his
   stories, told the grand Jury that Risen told him that Sterling




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   was his source for information about the            Ioperation.    1st*.

   at tff 53-109.
        in a book proposal sent to Simon fe Schuster in September
   2004, Risen deacribedi




   IjL. at 1 106.   Risen and the publishing company reached a
   publishing agreement and in sfovetober 300S. Risen sent a final or
   near-final version of the manuscript to Simon & Schuster.         IsL at
   1 106.
        in a classified filing dated March 7, 2008, the government
   admitted that the above-described evidence amounts to probable
   cause to indict sterling:
        The evidence gathered to date clearly establishes
        that there is at least probable cauee to believe
        that Jeffrey sterling is responsible for the
        unauthorized dlBciosuxeof classified information
         regarding the pMesHHTOperation. to James Risen,
         and three federal judges have also made a similar
         finding by authorising the search warrants
         described above. The Government believes that
         there is also probable cause to suggest that
         Jeffrey Sterling is further responBible for the
       ((••••••••••••••••sbsT0^8^00037811'
         described above. However, the Government further
         believes that this matter warrants additional
         investigation to insure a proper charging decision
         before an indictment is presented to the Grand
         Jury.

   Id. ? 142.3


         *The Court strongly disagrees with the. government's decision
   to redact Paragraph 142 of the Bruce declaration from the
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       C. Subpoenas to Risen
       A grand jury sitting in the Eastern District of Virginia
  began investigating the disclosures about the ssMsftoperation in
  or about March 2O06. ISL at t 9. On January ze, 2008, the
  government issued Its first grand jury subpoena to Risen I"2008
  subpoena"), eeeking testimony and documents about the identity of
  the Bource(B) for Chapter 9 and Risen'* communications with the
  source(0). Riaeo moved to quash the subpoena, arguing that the
  reporter's privilege under the First Amendment and federal common
   law protects him from being compelled to disclose the
   information.

        Risen'e motion to quash was granted in part and denied in
   part, after the Court found that the government already had
   strong evidence against Sterling and that Risen's testimony would
   simply amount to -the icing on the cake." However, because Risen
   had disclosed Sterling's name and some information about his
   reporting to ••••H the Court found awaiver as to that

   material provided to Risen'e counsel,***««** £ v******
   information in the declaration, this P«2^.<2g~1
   absolutely no information that would c0^°;*f^*i0£UBe exists
   security. The government's admission that probable "f?»*J™£f
   is significant, and it likely would have °™~* ^leaSon^
    to prlsent different arguments to the Owrt. *£££*^**
    the entire
    appear     paragraph
           to divulge    is i«^^«Jb60^u"^,5!ra^Ser
                      national                             the
                               security information. J™***'""
    paragraph confirms a conclusion of law, If the J^SST'iJ gould
    conctrn la that pooenames for the programs ar te*f£*' £*°n
    have redacted those names but left the remainder of the paxagrapn
    unclassified.
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                                            1ST
    information.

          Both Risen and the government sought reconsideration. Risen
    filed affidavits from himself and ^Hsssath5Lt ***** claims
    establish that their discussions were part of Risen's reporting
    and therefore that no waiver occurred,          While those motione were

    pending, the government ordered Risen tc appear before the grand
    jury with less than 48 hours notice.          The Court granted RiBftn's
    motion to stay, and nothing more occurred until July 21, 2009,
    when the Court aeked both parties for a status update because the
    term of the grand jury which had issued the 2008 subpoena had
    expired.   The government responded that ita investigation was
    continuing and that it had convened another grand jury during the
    week of July 27, 2009.     on August s, 2009. the Court issued an
    order staying argument of the motions for reconsideration, to
     allow the new Attorney General an opportunity to evaluate the
     wisdom of reauthorizing the subpoena, given its significant First
     Amendment implicatlona.

          On January 19, 2010, the Attorney General authorised the
     Issuance of a second grand jury subpoena {'2010 subpoena*).          The
     subpoena issued on April 26, 2010.       Onlifce the 2008 subpoena, the
     20X0 subpoena does not ask for the identity of confidential
     sources) Instead, the subpoena demandB Risen'9 appearance before
     the grand jury and requires production of a broad list of
     documente and information.    Among the requested documents are all


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     Rolodex and contact information for Sterling, all notee related

     to RiBen'a reporting on chapter 9,f all emails or other
     correspondence relating to Chapter 9, and drafts of bock
     proposals,   Risen has denied possessing any of these document*
     other than the Rolodex contact information,

          After oral argument on October 12, 2010, the Court quashed
     the subpoena as to the document requests, accepting Risen's
     representation that the only responsive document possibly in hi9
     possession was the contact information and finding that the

    compelled disclosure of that information would divulge the names

     of confidential sources.   The unresolved issue, which is
     addressed in this Opinion, is the request for Risen's testimony.'
          In a declaration attached to the government'e Opposition
     brief, special Assistant united States Attorney William M. Welch
     II clarifies exactly what the government would ask Risen:
     •    Pirst, the government wants Rieen to confirm the accuracy of
          the March 2, 2002 article about Sterling's discrimination
          complaint and tne CIA's deciaion to fire him.   Specifically,
          the government wants to aek Risen where sterling disclosed
          the information, what other information Sterling provided,

          how Sterling provided the information, and when Sterling

          'In the October 12, 2010 Order, the Court asked the parties
     to provide an update on the status of negotiations on the
     remaining portion of the subpoena,    on October IS, 2010, the
     parties informed the Court that they have been unable to reach a
    compromise.

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        provided the informattionf *» well as whether Risen and
        Sterling discussed the discriiRi/wtion lawsuit after the
        article was published and whether Risen intends to write
        future stories about Starling's discrimination lawsuit.
   •    flext, Che government wants to ask Risen about "the where,
         the what, the how, end the when" regarding disclosure of
         classified information published in Chapter 9.    The
         government will allow Risen to discuss sources using agreed-
         upon pseudonyms, such as "Source A," rather than their reaL
         names.


    •    East, the government wants to ask Risen about "the where,
         the what, the how, and the when* regarding the 2004 latter
         that Sterling sent to RiBen.

                              II. Disoussion

         on June 3, 2010, Risen filed a Motion co o^uash the 2010
    subpoena under Federal Rule of Criminal Procedure 17 lc)(2), which
    provides that the Court may quash or modify a subpoena if
    compliance would be unreasonable or oppressive.    Risen argues
    that the Court should quash the subpoena because ic is protected
    by the reporter* s privilege under both the First Amendment and
    the common law, and that the 2010 subpoena, liXe the 2008
    subpoena, seeks confidential source information.      Rieen alec
    argues that the benefit of the leaks to the public outweighs any
    harm they caused, and that the government issued the subpoena to

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   harass and intimidate him.
         A. Federal Rule of Criminal Procedure 17 tc)(24
         Although the government and Risen disagree about whether a
    reporter's privilege applies to this case, it is well accepted
    that grand juries' subpoena powers have some limits. Federal
    Rule of Criminal Procedure 17(c)(2) allows a court Co quash a
    grand jury subpoena -if compliance would be unreasonable or
    oppressive."
         The Fourth Circuit has not hesitated to find that Rule
    17(c) (2) imposes limits on grand jury subpoenas.
          mm grand jury is not ^fettered £^««rg£ of
         its investigatory
         undertaking those powers.
                           practicesThe
                                     thatlawdo'^SdttFSraiid
                                               not *l* tJnegrand
          •lury in its quest for information bearing on the
          ceSslon to Indict. This P«*ibition grtw ££&,£*•
          grand jury requests that amount to civil ^^JJSsainfl
          diacovir/as well aa arbitrary, malicious, or haraaamg
          Inquires.
     ^^ fifcataB T Trti-r T** '*" " «™« lTnrY ?nm#i**J*>J*z
     j^fc.^iu). « F.M 876, 878 (4th Cir. 1994) (internal
     quotation marks and citations omitted). Parties may use Rule
     17tc)(2) to challenge agrand jury subpoena for seeking
     privileged material, and Mi)« the absence of such aprivilege, a
     subpoena may still be unreasonable or oppressive under Rule 17(c)
     if it is irrelevant, abusive or harassing, overly vague, or
     excessively broad.- fflUnad Stem Tt..W M"1 "n * ^^
     l11ITYpT«W. n-.T. 2005-2). 478 P.3d 981, 585 (4th Cir. 20071
      (internal quotation marks and citations omitted).
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          B. Pirst Amendment Privilege, in the Fourth Circuit
          In addition to the Rule 17(c)(2) protections, Risen argues

    that the First Amendment's guarantee of a free press as well as
    federal common law establish a qualified reporter's privilege
    that prevents compelled disclosure of the type at issue.4 The
    government counters that there is no reporter's privilege in a
    criminal case, relying heavily on Branaburq v. Haves. 408 U.S.
    865 (1972), which addressed three consolidated cases in which
    journalists sought to quash grand jury subpoenas.     In the first
    case, a Kentucky grand jury sought testimony from a newspaper
    reporter who wrote articles about marijuana production and use.
    The reporter had agreed not to name the subjects of the stories,
    and the grand jury sought the subjects' identities.     14* at 667-
    68.   In the second ease* a Massachusetts grand jury subpoenaed a
    television reporter who had been permitted to enter the Black
    Panther Party's headquarters on tha condition that he not
    disclose what he eaw or heard inside.    Tha grand jury sought
    information about what took place in the headquarters.      IflL at


         ♦Risen also argues that the Court should apply a federal
    common law reporter's privilege; however, the Fourth Circuit has
    only mentioned a common law privilege in passing in Un|frafl {Stftteg
    v. St^lhammar- 539 P,2d 373 (4th Cir, 1976)i a civil contempt
    proceeding, in steelhammer. the court's analysis focused mostly
    on the Pirsc Amendment privilege. Although other circuits have
    recognised a strong teporter's privilege under the federal common
    law, the Fourth Circuit has not done so. Therefore, the Court
    will limit its analysis to the reporter'* privilege under the
    First Amendment.

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   672-75. in the third case, afederal grand jury in California
   subpoenaed the notes and interview recordings of anewspaper
   reporter who covered the Black Panther Party. Id*, at 675-79.
        The majority in Bjf^tes declined to recognise areporter's
   privilege in those cases, finding that
         frothing in the record indicates that tnese grand


         affiliations for a purpose that wbb not germane to cnc
         determination or whether acrime has been committed.
    jd, at 700 (internal quotation marks and citations omitted).
         Although Justice Powell joined in Che majority, be wrote a
    concurring opinion to emphasise the 'limited nature" of the
    majority'o opinions

         If anewsman believes that the grand ^m^$S&T
         is not being conducted in good faith he is not «"^
          remedy, indeed, if the newsman i"=f^uouT
          information bearing
          relationship        only a remote
                       tcjhesubjoct   jjjhew*>!"uo*Ji{m,  or U
                                            investigation^r
          he has soma other reason to bel^ef.^ah7^8 without a
          implicateB confidential source &)**£"ships wit"°«
          legitimate need of law enforcement, $B ""V^iJte
          to the court on a motion to <J^ah ™d **^£°5aim to
          5SS5T.S5 5TA5?« gg*SB"
          with respect to criminal conduct.
     Ijj. at 709-10 (Powell, J., concurring).
          With B^zbjira as the Supreme Court's only pronouncement on
     the First Amendment reporter's privilege, circuit courts have

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  varied widely on the protections that they provide journalises.
  The Fourth Circuit has repeatedly followed Justice Powell's
   concurrence by recognising that under the right facts there is
   qualified protection for journalists. In TMUfflP fr-nttf V^
   Sis^m^, », F.2d 373 (4th Cir. 1976), the district court
   ordered several journalists to testify at acivil contempt trial
   about statements made in their presence at arally, 1ft, •* 314.
   Although the Fourth Circuit affirmed the order, it applied
   justice Powell's balancing jurisprudence?
         tilt is conceded that the «*«««»**" ^a'" ""
         Information sought to be *****S£lSto?£ turn
         confidential basis .. ..££%*£ the reportere were
         uo even a scintilla oi evww».B   »____».„ thai*
         Subpoenaed to harass them or to "**^£££9        of
         newsgathering abilities ..-^^wSu tn nis
         interests suggested by Mr. ™""«" rf ^en^ of any
         concurring
         claim      ^P^1^.^,??^^"
               of ccmfiaant^ity         lacE%* evidence
                                s«di »%JfJonclu8ion  thatof the
         vtndictiveness tip the scale to "J*     tne reportera
         district court was correot in requiring ww v
          to testify.
    Id, at 376 (Winter, J., dissenting), sjMtftfJg Mr «*** «
     banc. S6i P.2d 539, 540 (4th Cir. 1977).
          The Fourth Circuit has Since adopted athree-part
     balancing test for evaluating whether to enforce subpoenas
     issued to journalists, in acivil defamation case,
     l3rDir^Y e.,.^1 Prn^StimCv,, 760 F.2d 1134 (4th
     dr. 1986). the plaintiff tiled amotion tc compel defendant
     NBC to reveal the confidential sources behind the allegedly
     defamatory statement*, 1ft, at 1137. » affirming the-
                                      16
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    district court's denial of the motion to compel, the Fourth
    Circuit adopted the following test to determine whether the
    reporter had to disclose confidential sources: Ml) whether
    the information is relevant, (2) whether the information can
    be obtained by alternative means, and (3) whether there is a
    compelling interest in the information.*   Xft. at 1139.
    Because the plaintiff had not exhausted reasonable
    alternative means of obtaining the same information, he had
    not demonstrated that his interests in fact-finding
    outweighed NBC's interest in maintaining the confidentiality
    of its sources.   Id.

          m ^ ^ fflifltn 978 P.2d 850 (4th Cir. 1992). the
     Pourth Circuit held that the First Amendment reporter's
     privilege applies to criminal eases only where the
     government aseke a reporter's confidential Information ox
     ieeuee the subpoena to harass the journalist.   AB part of
     their coverage of a bribery scandal in the South Carolina
     legislature, four reporters each interviewed a scace senator
     about his relationship with a registered lobbyist, and later
     published portions of those interviews in their news
     stories, id, at 851.   After the senator's indictment, the
     United States Attorney subpoenaed the reporters to testify
     at the criminal trial, and tha reporters moved to quash the
     eubpoenaB, 5ft, at 851-52, The Fourth Circuit affirmed the

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     district court's denial of the motions to quash, holding

     that "the absence of confidentiality or vindictlveness in
     the facte of this case fatally undermines the reporters'

     claim to a First Amendment privilege."    2ft*. at 853; fit*./
     Onited States v. ftetran. Criminal »0, 01-405-A (8.0, Va. Aug.

     20, 2002) (quashing subpoena to a newspaper reporter in a
     criminal case because it did not satisfy the kefrouche

     balancing test),

          The Fourth Circuit hae even extended the reporter's

     privilege to apply to non-confidential information in civil
     cases.   In church of Scientology International v, Daniels,
     992 F.3d 1329 (4th Cir. 1993), the Church of Scientology
     sued a drug company executive over his comments to UfiA
     Todays editorial board.    Although the executive's comments
     had not been made under- a confidentiality agreement, the
     Pourth Circuit affirmed the magistrate judge's denial of the
     church's request to compel the newspaper to produce all
     materials related to the editorial board meeting, including
     noteB, tapes, and draft articles.     Applying tha I&fiftUChft
     teat, the Court agreed with the magistrate judge's
     conclusion that the church nhad made no effort to pursue

     alternative sources of information concerning the meeting."

     jft. at 1335.

          In Aahcraft v. Conoco. IUc. 218 F.3d 282 (4th Cir.


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                                        iet
 2000), the Fourth Circuit reversed a contempt order against
 a journalist for refusing to Identify the source of his
  information about a confidential tort claim settlement,
 holding that if courts routinely required journalists to
 disclose their sources, "the free flow of newsworthy
  information would be-restrained and the public's

 understanding of important issues and events would be
  hampered in ways inconsistent with a healthy republic.' 1ft,
  at 287.

       These cases articulate a clear legal rule.    If a
  reporter presents some evidence that he obtained information
  under a confidentiality agreement or that a goal of the
  subpoena is to harass ox intimidate the reporter, he may
  Invoke a qualified privilege against having to testify in a
  criminal proceeding. The district court must then determine
  whether that qualified privilege is overcome using the three
  kaRouche factors.
       IA] First Amendment journalist privilege is
       properly asserted in this circuit where the
       journalist produces some evidence of
       confidentiality or. governmental harassment. Only
       where such evidence exists may district courts
        then proceed to strike a balance between the
        competing interests involved, namely freedom of
       the press and the obligation of all citizens to
       give relevant testimony with respect to criminal
        conduct.

  united State* v. Lindh. 210 P. Supp. 3d 780, 783 (S.D. Va.
  2002) (emphasis addedi internal quotations and citation
                                   19
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                             Tfl]
  omitted).»

       C, Confidentiality

       The Court has accepted Risen'e explanation of his
  confidentiality agreement with his source and that his
  discussion of the source wlthH^HsBi was nl8° made in
  confidence as pare of his news gathering *
       The government: argues that the 20X0 subpoena does not
  seek confidential information becauBe it does not require
  Risen to disclose the identity of his confidential
  source(s).     Risen responds that Che agreement with his
  confidential oource(s) for Chapter 9 Moea not merely cover
  the name of the source(el.        Rather, I understand my
   agreement(s) to require me not to reveal any information
   that would enable aomeone to identify my confidential
   Bource(s).*    2010 Risen Reply Aft. at t 5,    The government

        *The district court in Vn.UBti state* v. Klncf, 194 F.R.D. ^69
   (E,0, Va. 2000), reached a different result, holding that
   evidence of confidentiality *nft harassment is necessary before
   justice Powell's balancing teat is triggered. Jft. at 584.
   However, that opinion did not discuss Asftcraft,, which had Deen
   issued five daya earlier. AahjaSalt did not require any
  •prerequisite showing of harassment or bad faith. Rather, because
   the journalist acquired his information from a confidential
   source, the panel applied the LaRauSltf factors. Moreover, tne
   circumstances in gins ate vastly different from the **•"«*,
   matter, In Kiflg, the identity of the journalist's confidential
   source - a cooperating governmsnt witness - had been
   independently discovered and revealed as a matter of public
   record. jfl, at 584. Accordingly, when he attempted to invoke tne
   qualified privilege, any interest the journalist had in
   maintaining the confidentiality of the source or her statemence
   had evaporated.

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counters that the promise of confidentiality -only could
have extended to their names,., nflt their information, because
Mr. Risen published their information in chapter 9." opp,
 at 25.

      The government's narrow view of the scope of
 confidentiality' has been rejected by many courts, which
 have found that the reporter's privilege is not narrowly
 limited to the names of confidential sources but. at
 minimum, includes information that could lead to the
 discovery of a confidential source's identity, flee, P,**,
 miff Y HTV-nh^e CntV^. 602 F. Supp. 575, 679 (W.D.N.C
  1985) (recognizing *a qualified privilege under the First
  Amendment for the reporter both against revealing the
  identity of confidential sources end agatnflt revealing
  material that is supplied to the reporter by such
  confidential source") rfcitf F iT* l^mHlA WW*** ™^
  - ^r1 F^1V league. 89 F.R.D. 459, 496 (CD. 0.1.
  1981) (quashing subpoena to reporters for -any and all
  notes, file memoranda, tape recordings or other materials
   reflecting" conversations with listed individuals);
   Tre^ie. v. Fields, 389 P. Bupp. 1299, 1303 <*.P. «••
   1975) {-The compelled production of areporter's resource
   materialS Is equally invidious as the compelled disclosure
   of his confidential informants.").

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       As Risen explains, confidentiality pledges that are
  limited to the name of the source "would be of little value
  to a source or potential source. If a journalist were to
  withhold a source's name but provide enough information to
  authorities to identify the source, the promise of
  aonfidentiallty would provide little meaningful protection
  to a source or potential source." 2010 Risen Reply Aff.. «t

       The Court finds that Risen did have a confidentiality
   agreement with his source and that the agreement extended
   beyond merely revealing the source's name hut to protect any
   information that might lead to the source's identity.
   Therefore, the Court must conduct the three-part laRBUfibs.
   balancing test to determine whether the reporter's privilege
   protects Risen from being compelled to disclose the
   information sought by the government,'

         *iaen also argues that the government issued the subpoenas
    to harass him,                      .    ., record of writing
         Risen bases his harassment clJ^  ~  Svern^wt's
    stories that criticl»ed and exposed ^ f^f™6^ ",„    national
                                                               Rle8P
    security and intelligence t™rt±flM *J}n| *„ilJo for hie
    won the 2006 Pulitzer Prize for National *£**^antless
    articles that revealed Che government's domestic warr
    wiretapping program. 2006 Risen *'f: *'jed'R"^ B^porting
    including former President Bush V^^S^^secutiou.
    and some threatened investigations and potential p*vb»
    2008 Risen Aff. at if 25-41.                .„.»„., a AM Attorney
         The issuance of the 2010 subpoena «*«*» bwausV we do
    General does not remove the **«**" S^^eSt officials who
    not knowRisen*
    sought    how many         f^^^J^^^^l^
                        of the in
                   s testimony    2006 are stiiJ- «» ^™»* •> *** to
                                     22



                                          j-*
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     D. Balancing the equities

     In its opposition Brief, the government has refined the
general categories of information chat it seeks to obtain
from Risen about Chapter 3\ 1) testimony about Where the

di?closures occurred to establish venue/ 2) testimony about

what information each source disclosed and when the

disclosure oocurred to ensure Chat the grand jury charges
the right individual; 3) testimony about how Risen received
classified information because oral disclosure of classified
information requires greater intent? and 4) testimony to
authenticate Chapter 9.

                1. treed to establish venue

      The government has a .compelling interest in
establishing venue, "The supreme court has cautioned that
the question of venue in a criminal case is more than a
matter "of formal legal procedures rather, it raises 4d»ep
 issues of public policy in the light of which legislation
must be Construed.'"    ffi4Ead $W,ri v- Bfaeyaole, 411 F.3d
 517, 524 (4th Cir. 2005) (quoting Tilted. 9tar.es y, Johnson*


 what extent, if any, they advised the new Attorney General «bouc
 approving the subpoena. Moreover, the sweeping scope of the 2010
 subpoena provides some supporc to Risen's harasament argument.
 fro* example, Riaen'e book proposals could hardly help the
 government establish probable cause to charge pearling or any
 other suspects. However, because confidentiality is sufficient to
 trigger the LaRouehe balancing test, it is not necessary to
 decide whether the subpoena was issued, at least in part, to
 harass or intimidate Risen.

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  323 t.S. 273, 276 <1944)J .

        As the government correctly points out, there are four
  possible districts where venue could be established! the
  Eastern District of Virginia, where Sterling lived until
   August 2003; the Rastem District of Missouri, where
   sterling moved in August 2003/ the District of Maryland.
   Where Risen lived; and the District of Columbia, where Risen
   worked, Opp. at s. For prosecutions involving disclosure
   o£ classified information, venue ia proper both where the
   information is sent and where it is received. Under Fed. R.
   crim. P. 18, venue may be in multiple districts as long as
   part of the criminal act took place in that district. Sflfi
   HpH-a *>•*!- v. luinxole. 39 Fed. Appx. 839, 841 (4th Cir.
   2002).

         Although the government's pursuit of Risen's testimony
   to establish venue satisfies the relevance and compelling
    interest prongs of the U&fiSShs. test, it fails to meet the
    second prong because the governmBnt has not demonstrated
    that the information Is unavailable from other sources. The
    government merely states that it -cannot establish venue for
    the substantive disclosures of classified information by any
    nt Mr. Risen'a source(s) to him without Mr. Risen's
    eyewitness testimony concerning the crimeo he witnessed.-
    Opp. at 6-9.


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      The government briefly admits it need only establish
 venue by a preponderance of the evidence,   £a& Bbersola. 411
 P.3d at 524 ('The prosecution bears the burden of proving
 venue by a preponderance of the evidence and, when a
 defendant is charged with multiple crimes, venue must be
 proper on each count.   Fox some offenses, there may be mors
 than one appropriate venue, or even a venue in which the
 defendant has never sec foot.*) {internal citations and

 quotation marks omitted).   As discussed above, the
 government has e-mail and telephone records indicating
 communications between Risen and Sterling in the few weeks
 before Risen' b April 3, 2003 inquiries about ••• to the
 WSC and CIA.   All seven phone calls were between Risen'a
 home in the District of Maryland and Sterling;* home in the
 Eastern District of Virginia.   Although sterling may have
 provided additional information aboutflBBto Risen after
 sterling moved to Missouri, he had already given Risen
 enough information about the program before April 3, 2003
 for the ciA Director and National Security Advisor to
 personally intervene with the plans of the flew yorfc Times, to
 publish che article.    Risen's specific questions about
 •••I on April 3, 2003 indicated that he already knew
 many details about the classified program.    As the
  government acknowledges, it may "rely upon inferences drawn

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                             tBMRRv
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from telephone records and other evidence to establish
venue." Opp, at 9. The government clearly has sufficient
circumstantial evidence to meet the preponderance of the
evidence standard for oatablishing venue in the Bastem
District of Virginia. Although the government has a
compelling interest in establishing venue and information
about venue is relevant, the government has failed to
satisfy the second prong of lAfisusbft, because the
information can be acquired through alternate means.
          2. need to charge the right individual
      The government next argues that it must ask Risen about
 what specific classified information each source disclosed
 to him and when it was disclosed so the grand jury will be
 able to charge the right individual(»).
      Although the government has an obligation to avoid
 erroneously charging innocent parties with criminal conduct,
 there is no danger of that happening to this case. The
  government's classified filings demonstrate that there is no
  need to exculpate parties other than gterling because the
  government does not have any other suspect or target to
  investigate. Re the evidence clearly Shows, very few people
  and -cess to the information in Chapter 9, and Sterling was
  the only one of those people who could have been Risen'a
  source. Bruce Oecl. at 11 110-30. Chapter 9reports two
                                    26
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  key meetings? a 1998 meeting in San Francisco with CIA
  employees and MERLIN, and a 2003 meeting between a former
  CIA employee and Senate staffere.




   government has not presented the Court with any evidence
   that CIA employees knewjhat^terlingjje^
   until after the leak,
                                                   As to |^m| and
           the Senate staffers, the government investigated
           ae a possible source, and the investigation "has not
    revealed any evidence that HLssssB ^W *** *** *l**Ct
    contact with James Risen, and certainly no contact related
    to theMHM-^Cperation.- HL at H113, n. 30. And when
    the government interviewed •§ to Hovember 2005, he could

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                                       r, .,-:.•
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  not remember




                                                   |£L at 1 113.
  The government has not presented even a remote possibility
  that anyone other than Sterling could be charged with
  disclosing this information.     Therefore, the government

  fails to satisfy tha second and third prongs of the Lakouoho

  test.

               3. Need 'to establish mess rea

          The government next argues that it must ask Risen how
  he received the classified information because the
  government needs to ensure that it establishes the proper
  mens rea under ia U.S.C. 8 793(d), which provides thati

          Whoever, lawfully having possession of, access to,
          control over, or being entrusted with any
          document, writing, code book, signal book, sketch,
          photograph, photographic negative, blueprint,
          plan, map, model, instrument, appliance, or note
          relating to the national defense, or information
          relating to the national defense which information
          the possessor has reason to believe could be used
          to the injury of the Onited states ox to che


          'Risen's counsel cannot fully argue this point because the
   information about ••• testimony is in a classified filing to
  which Risen's counsel does not have access.

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                                           iri'u
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                             TJMSCff^"
         advantage of any foreign nation, willfully
         communicatee, delivers•, transmits . -. . the same
         to any person not entitled to receive it . . .
         Is}hall be fined under this title or imprisoned
         not mors than ten years, or both,

    specifically, the government argues that if Risen's
    source(s) disclosed the classified information orally, the

    government would have to establish that the disclosure was

    willful and that the defendant had reason to believe that

    the disclosure could barm the United States i if the

    disclosure to Risen Involved providing classified documents,
    the government would only have to prove willfulness.

    £££ Wew York Times Co. v. Dnlted Statee. 403 O.S, 713, 738

    n.9 (1971) (White/ J., concurring) (concluding that
    prosecution for disclosure of classified documents does not

    require a demonstration of intent to harm the government) .
    The government contends that without Risen'a testimony about
    the form of the disclosure, it will not know which mens area
    requirement applies.   In his Reply Brief, Risen does not
    challenge the government's statutory interpretation.
         The government's argument rails beeause it can satisfy
    the heightened requirement for oral disclosure, making
    Rieen's testimony about the form of disclosure unnecessary.
    T)v. government already has more than enough evidence to
    establish probable cause that Sterling bad reason to believe
    that disclosure could harm the united Statee.     specifically,


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    che government recovered from Sterling's computer a letter,
    dated March 19, 2004, addressed to "Jim."    In that letter,

    the author expressed great animosity towards the CIA, even
    implying that the CIA was involved with the death of a

    federal judge. The government actually claims that the
    letter demonstrates sterling's "deep-seated hatred and anger
    cowards che CIA."    opp. at 36.   Because the government
    already has evidence that sterling wanted to harm the CIA,
    it has sufficient evidence to establish probable cause that

    Sterling knew disclosure could injure the United states.
         It also is inconceivable that Risen'b source did not

    know that disclosure could harm United States interests.

    Throughout ite Opposition Brief and the classified Bruce
    Declaration, the government adamantly alleges that the
    disclosure of this information harmed Ohitcd Statee security

    interests.    Nowhere in its filings does Che government
    suggest that it even considered the possibility that Risen
    obtained the information from a sourceU) who did not know

    that the disclosure could harm the nation,       Because the

    government does not have a compelling interest in the
    information, the government has failed to satisfy the third
     prong of the uaRoucha test.

                 4. Need to authenticate Chapter 9

          Lastly, the government argues that Risen's testimony ±6


                                       id
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  necessary to authenticate and admit the contents of Chapter
  9 and the March 2, 2002 Hew YQrfr Times article.   However,
  this request also fails the Beeond and third prongs of the
   LaRouche test,

        Risen has already authenticated the contents of chapter
   9 in a signed 2008 declaration, in which na discusses, in
   depth, hia reporting of Chapter 9 and his decision to
   publish the information. See, e.g.,, 2008 Risen Afif. at 137
   <*I actually learned che information about Operation Merlin
   that was ultimately published in Chapter 9 of &%M* ot flar
   in 2003, but I held Che story tcr three years before
   publishing it,").
        Risen has also authenticated the accuracy of his March
   2, 3002 W«w voi* Times article. In a signed affidavit,
   Risen wrote?

         As apreliminary matter, X""^J^JSE fstand
         government also now intends to »8* ^^J*^*
         by the content of an article I published, in Marcn
         2002T titled '*ired by C.l«*., »* «*^?^*£fciela
         Practiced Bias.' Ido, the facts in that «r£cle
         are true, to the best of my knowledge, and 1 stand
         by what x wrote.
    Affidavit of Jama* Risen, dated June 3, 20ia, at 1 10.
         Moreover, the authentication, hearsay, and best
    evidence rules of the Federal Rules of Evidence do not apply
    to grand jury proceedings. flee, a.B.,. ITnHoft 3W'« V>,
    SOanjfce, 414 G.o. 338, 344-4S (1974) (-The grand jury's
                                     31
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     sources of information are widely drawn, and the validity of
     an indictment is not affeeted by the character of the
     evidence considered,     Thus, an indictment valid on its face
     1b not subject to challenge on the ground that the grand
     jury acted on the basis of inadequate or incompetent
     evidence!.]")?     In re Grand Jury Subpoena (T-1121   597 P.3d
     189, 196 (4th Cir. 2010) (a[C]OUrts for generations have
     recognized that a grand jury indictment need not be based on

     evidence conforming to che formal requirements of a
     trial.").     Although the government might have a plausible
     argument that such authentication may be necessary at trial,
     it cannot argue that the government has a compelling
     interest in authenticating chapter 9 during grand jury
     proceedings.     Because authentication would not aid the grand
     jury's probable cause evaluation, this justification tails
     the second and third prongs of the fraftouche test, both
     because there is not a compelling interest to authenticate
     and because the information sought is already available in
     Risen's affidavits.

                            III. conclusion

             The grand jury's investigation involves a sensitive
     rational security issue, which both sides argue should be
     taken into consideration in applying the LaRpuche balancing

     test.     The government correctly stresses that few interests


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    are as compelling ae the government's interests in

    protecting national security.   *It is 'obvious and
    unarguable' that no governmental interest is more compelling
    than che security of the Nation," Haiq v. Aaaa, 453 U.S.
    280, 307 (1961), The government is investigating the alleged
    diroloaure of highly classified information about!



         Risen also relies on the significance oE the national
    security element to emphasize tha value of the leaked
    information which,' if true, points to a mishandled project
    by the CIA about which the public needs to be aware.
    Reporting about national security often serves a significant
    public interest, and investigative reporting about national
    security often requires confidentiality agreements,     fies
    Affidavit of Scott Armstrong, dated February 16, 2008, at 1
    14 ("The highest ranking government officials may prefer to
    be confidential sources to che news media in order to

    communicate candidly their differences of opinion or fact
    with othere in the same department or administration to an

    oversight committee,   Such confidential source relationships
    are often the only manner through which the mixture of
    sensitive and non-sensitive national security information
    can be integrated and conveyed to the publici")


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             Both parties present compelling arguments, yeC they are
     unable to cite to any Fourth Circuit precedent that carves
     out a nacional security exception to tha iianoucha balancing
     test.    Moreover, the subpoena at issue is a grand jury
     subpoena, not a trial subpoena,    as such, the government's
     compelling interest at this stage is merely to establish
     probable causa that Sterling or any other suspect disolossd
     classified information, i»A grand jury proceeding is not an
     adversary hearing in which the guilt or innocence of the
     accused is adjudicated.     Rather, it ie an ex parte
     investigation to determine whether a crime has been
     committed and whether criminal proceedings should be

     instituted against any person."     united acafrfff v- Calandra.
     414 XI,8. 338, 343-44 (1974).

             Aa discussed above, the circumstantial evidence already

     before the grand jury - including the testimony of bbbssbbsbbI
     who confirmed Sterling as Risert'a source, the telephone and
     e-mail records, and Sterling's discussion with the senate
     staffers - is more than enough evidence to establish
     probable cause to indict Sterling and the government has

     essentially admitted that fact.     To require a reporter to

     violate his confidentiality agreement with hie source under
     these facts would essentially destroy the reporter's
     privilege.     Were Sterling to be indicted and a trial


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   subpoena to be issued to Rieen, the analysis might well
   change, because at trial the government would have the much
   higher burden of proving sterling's guilt beyond a
   reasonable doubt,      In that context, the government might

   well satisfy the LaRouehe balancing test,           It has not
   satisfied that balancing test in the grand jury context.
        For these reasons, Oames Risen'b Motion to Guash the
   grand jury subpoena has been granted by an order issued on
   November 24,   2010.

        The Clerk is directed to forward a copy of this
   Memorandum Opinion to the Court Security Officer, who will
   provide a copy to the government, arrange for classification
   review, and provide a redacted copy to movant's counsel.
        Entered this Jg. day of November, 2010


   Alexandria, Virginia

                                                  Leonie M. Betoken*
                                                  United States DistrictJudge




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                                             V«'i"..
